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 Attorneys for Defendants Grand Management
 Services, Inc., Jerry Mascolo, Leondra Coleman,
 and Dawn Cockrum
                                  UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                       PORTLAND DIVISION


PATSY JAY,                                                           Case No. 3:23-cv-00656-SI

                    Plaintiff,                        NOTICE OF CHANGE OF ADDRESS

         v.

GRAND MANAGEMENT SERVICES, INC.,
EVERGREEN GARDENS LIMITED
PARTNERSHIP, JERRY MASCOLO,
LEONDRA COLEMAN, and DAWN
COCKRUM,

                    Defendants.


         PLEASE TAKE NOTICE that effective immediately, the business address for Heidi L.
Mandt, attorney of record for defendants Grand Management Services, Inc., Jerry Mascolo,
Leondra Coleman, and Dawn Cockrum, has changed to the following:
                                            Heidi L. Mandt
                                           Williams Kastner
                                     805 SW Broadway, Suite 2440
                                          Portland, OR 97205

///

 Page 1 -          NOTICE OF CHANGE OF ADDRESS                           Williams Kastner
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4891-9820-2601.1
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         Please direct all future correspondence to this address. Heidi L. Mandt’s email and
telephone number remain the same.
         DATED this 24th day of September, 2024.

                                              WILLIAMS KASTNER

                                              By: /s/ Heidi L. Mandt
                                                   Heidi L. Mandt, OSB #953459
                                                   Email: hmandt@williamskastner.com
                                                   Attorneys for Defendants Grand
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                                 CERTIFICATE OF SERVICE

         I certify that I served the foregoing NOTICE OF CHANGE OF ADDRESS via the

court’s ECF service on the parties below on this 24th day of September, 2024:


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                                       By s/ Heidi L. Mandt
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